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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  CENTRAL DIVISION

MYRON NEWJEAN ANDERSON JR.                                                PLAINTIFF
ADC #123288

v.                                No: 4:20-cv-00932 JM-PSH

JAMES SHIPMAN, et al.                                                 DEFENDANTS

                                               ORDER

        The Court has reviewed the Proposed Findings and Recommendation submitted by United

States Magistrate Judge Patricia S. Harris, and the objections filed. After carefully considering

the objections and making a de novo review of the record in this case, the Court concludes that the

Proposed Findings and Recommendation should be, and hereby are, approved and adopted in their

entirety as this Court’s findings in all respects.

        IT IS THEREFORE ORDERED THAT:

        1.      Anderson’s claims are dismissed without prejudice for failure to state a claim

upon which relief may be granted;

        2.      Dismissal of this action counts as a “strike” within the meaning of 28 U.S.C. §

1915(g); and

        3.      The Court certifies, pursuant to 28 U.S.C. § 1915(a)(3), that an in forma pauperis

appeal from the order adopting this recommendation would not be taken in good faith.

        IT IS SO ORDERED, this 19th day of October, 2020.



                                                     ________________________________
                                                     UNITED STATES DISTRICT JUDGE
